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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MCMAHON et al                          :              CIVIL ACTION
                                       :
                                       :
            v.                         :
                                       :
                                       :
GENERAC POWER SYSTEMS, INC.            :              NO.: 21‐cv‐5660
                                       :

                                   ORDER

            AND NOW, this 2nd day of JUNE, 2022, in accordance with the

court’s procedure for random reassignment of cases, it is hereby,

            ORDERED that the above captioned is reassigned from the calendar

of the Honorable Gene E.K. Pratter to the calendar of the Honorable Gerald J.

Pappert for further proceedings.



                                           FOR THE COURT:



                                           JUAN R. SÁNCHEZ
                                           Chief Judge


                                           ATTEST:


                                           ________________________
                                           KATE BARKMAN
                                           Clerk of Court
